AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                              Apr 23, 2025

                                                             for the                                                 s/ JDH
                                                Eastern District
                                              __________         of Wisconsin
                                                          District  of __________

                  United States of America                      )
                             v.                                 )
                                                                )      Case No.
                    Eduardo Flores-Ruiz
                    DOB: (XX/XX/1994)                           )                   25-M-395 (SCD)
                                                                )
                                                                )
                                                                )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 April 18, 2025              in the county of             Milwaukee                 in the
      Eastern          District of        Wisconsin         , the defendant(s) violated:

            Code Section                                                  Offense Description
8 U.S.C. § 1326(a)(2)                        Reentry of Removed Alien




         This criminal complaint is based on these facts:
Please see attached affidavit.




                                                                                                        Digitally signed by
         ✔ Continued on the attached sheet.
         u                                                               JEREMY M                       JEREMY M SCHULTZ
                                                                                                        Date: 2025.04.23
                                                                         SCHULTZ                        14:27:35 -05'00'
                                                                                           Complainant’s signature

                                                                            Jeremy Schultz, Deportation Officer, ICE ERO
                                                                                            Printed name and title

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SXUVXDQWWR)HG5&ULP

Date:      4-23-25
                                                                                              Judge’s signature

City and state:                    Milwaukee, Wisconsin                   Stephen C. Dries, United States Magistrate Judge
                                                                                            Printed name and title
                      AFFIDAVIT IN SUPPORT OF COMPLAINT

        I, Jeremy M. Schultz, Deportation Officer, being duly sworn and under oath state

the following:

        1.       I am a duly appointed Deportation Officer with the United States

Department of Homeland Security (“DHS”), Immigration and Customs Enforcement,

Enforcement and Removal Operations (“ICE ERO”). I have been employed with DHS,

since August of 2011, first as a Border Patrol Agent and more recently as a Deportation

Officer (since March of 2022). In February of 2012, I graduated from the Border Patrol

Basic Academy located at the Federal Law Enforcement Training Center in Artesia, New

Mexico, where I was trained in immigration laws, policies, and procedures. In March

2022, I transferred from the U.S. Border Patrol to ICE ERO. I attended the Deportation

Officer Transition Program from April 2022 through May 2022.

        2.       In my employment, I am assigned to investigate alleged violations of the

Immigration and Nationality Act, including violations that constitute the unlawful re-

entry into the United States by deported aliens in violation of 8 U.S.C. § 1326(a)(2)

(reentry of removed aliens).

        3.       This affidavit is made in support of the issuance of a criminal complaint

and   arrest     warrant   against   Eduardo   FLORES-Ruiz     (“FLORES-Ruiz”)      DOB:

05/XX/1994.       All of the information contained herein is based upon my personal

knowledge and investigation or upon information supplied to me by other law

enforcement officers or citizen witnesses, all of whom I believe to be truthful and

reliable.
          4.   I currently have possession of FLORES-Ruiz’s Alien Registration File

(“A-File”), # A205 583 354. The A-File is a collection of an alien’s history maintained

by the United States government. The file includes but is not limited to applications for

residency, notice and orders of removal, warrant of deportations, fingerprints,

photographs, and criminal history.

          5.   A review of A-File # A205 583 354 indicates that FLORES-Ruiz is a

native and citizen of Mexico. Records document that FLORES-Ruiz was issued an I-860

Notice and Order of Expedited Removal by United States Border Patrol Agents in

Nogales, Arizona, on January 16, 2013.          FLORES-Ruiz was thereafter physically

removed from the United States to Mexico on the same date, through the Nogales,

Arizona, Port of Entry. There is no evidence in # A205 583 354 or DHS indices

indicating that FLORES-Ruiz ever sought or obtained permission to return to the United

States.

          6.   On March 28, 2025, the Milwaukee ICE ERO Office was informed that

FLORES-Ruiz, who was charged in Milwaukee County Case Number 2025CM000814

with three counts of Battery-Domestic Abuse-Infliction of Physical Pain or Injury, was

scheduled to appear for a pretrial conference on April 18, 2025.

          7.   FLORES-Ruiz’s fingerprints and photographs were taken by the

Milwaukee County Jail and electronically submitted to federal databases including IAFIS

and IDENT. The Milwaukee ICE ERO Office determined through biometric fingerprint

comparison that the fingerprints taken of the individual charged in Milwaukee County

Case Number 2025CM000814 is the same individual to which # A205 583 354 related




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and who had previously been ordered removed from the United States. They were also

associated with FBI # 606376TD6.

       8.     On April 18, 2025, an ICE ERO task force planned to arrest FLORES-

Ruiz at the Milwaukee County Courthouse following his scheduled criminal court

appearance. They observed FLORES-Ruiz arrive and enter the courtroom with his

attorney. At some point, FLORES-Ruiz apparently learned that ICE ERO intended to

arrest him and fled the building. Task force members located FLORES-Ruiz outside the

courthouse and approached him. FLORES-Ruiz then ran from the task force members

and was eventually apprehended a short distance away.

       9.     Based on the foregoing, I submit that there is probable cause to believe

that FLORES-Ruiz is now in the United States without lawful authority, after being

previously removed from the United States, in violation of Title 8, United States Code,

Section 1326(a)(2).




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